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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 James Adams, et al.                                             Case No. 1:24-cv-09378
                           Plaintiffs,
 v.
                                                                 NOTICE OF APPEARANCE
 Guillermo Gharib, Ashley Harris, Cyrus
 Abrahim, James Abbos Binaiz, Peter McInnes,
 Nicholas Schmidt, and Oliver Wood,                              ECF CASE
                                  Defendants.




               PLEASE TAKE NOTICE that MAX L. BURWICK, an attorney duly

admitted to practice before this Court, hereby appears as counsel on behalf of all Plaintiff's,

James Adams, et al., in the above-captioned action and respectfully requests that all pleadings,

notices, orders, correspondence and other papers in connection with this action be served upon

him at the following address:

                                MAX L. BURWICK
                                BURWICK LAW PLLC
                                43 W 43rd St Suite 114,
                                New York, New York 10036
                                (646) 762-1080
                                max@burwick.law
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Dated:                                 Respectfully submitted,
New York, New York
June 10, 2025                          BURWICK LAW PLLC


                                       By:    /s/ Max L. Burwick

                                       Max L. Burwick

                                       43 W 43rd St Suite 114
                                       New York, New York 10036
                                       (646) 762-1080 max@burwick.law

                                       Attorney for All Plaintiffs




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